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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     WAYMO LLC,                                        Case No. 17-cv-00939-WHA (AGT)
                                                        Plaintiff,
                                   8
                                                                                           ORDER OF RECUSAL
                                                 v.
                                   9

                                  10     UBER TECHNOLOGIES, INC., et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  14          I, the undersigned judge of the court, finding myself disqualified in the above-entitled

                                  15   action, hereby recuse myself from this case and request that the case be reassigned pursuant to the

                                  16   Assignment Plan.

                                  17          IT IS SO ORDERED.

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                                  19   Dated: February 6, 2020

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                                                                                                   ALEX G. TSE
                                  21                                                               United States Magistrate Judge
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